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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


                         )
UNITED STATES OF AMERICA )
                         )
     v.                  )                            Case No. 1:20-cr-10111-RWZ
                         )
CHARLES LIEBER           )
                         )
     Defendant.          )
                         )


                        ASSENTED-TO MOTION FOR EXCLUSION
                        OF TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America, through the undersigned Assistant U.S. Attorney,

respectfully moves this Court to exclude the period from February 26, 2021 through and including

March 26, 2021 from the time within which the trial must commence under the Speedy Trial Act

pursuant to 18 U.S.C. §§ 3161(h)(1)(D) and (h)(7)(A), and Local Rule 112.2(c). In further support

of this motion, the government states as follows.

       The defendant has been charged by Superseding Indictment with making false statements,

making and subscribing false tax returns, and failing to file reports of foreign bank and financial

accounts. He was arraigned on July 30, 2020 and pleaded not guilty. The most recent status

conference was held on February 26, 2021, during which the Court scheduled a next status conference

for March 26, 2021 in order to provide additional time for the review of discovery. See ECF No 124

(clerk’s notes). During the status conference, the defendant, through counsel, consented to the

exclusion of time between the status conferences from the speedy trial computation and the

government agreed to file the instant motion in support of the same. Id.

       With the assent of the defendant, the government asks the Court to enter an order excluding

from the speedy trial computation the period from February 26, 2021 through and including March
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26, 2021. This period constitutes “the reasonable time necessary for effective preparation, taking into

account the exercise of due diligence,” and the ends of justice served by granting the requested

continuance outweigh the best interests of the public and the defendant in a speedy trial pursuant to

the Speedy Trial Act, 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(iv).

                                               Respectfully submitted,

                                               NATHANIEL R. MENDELL
                                               Acting United States Attorney

                                        By:    /s/ James R. Drabick
                                               JASON A. CASEY
                                               JAMES R. DRABICK
                                               Assistant United States Attorneys


                                   CERTIFICATE OF SERVICE

      I hereby certify that this document was filed on March 16, 2021, through the ECF system,
which will provide electronic notice to counsel as identified on the notice of Electronic Filing.

                                               /s/ James R. Drabick
                                               James R. Drabick
                                               Assistant United States Attorney




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